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               DOCUMENT 23
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             EXHIBIT 5
 EXHIBIT FILED UNDER SEAL
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    Date:            Tuesday, October 5 2021 12:44 PM
    Subject:         Re: Project Wedge Media Summit -Approval Required
    From:            Majed Al Sorour <                                >
                     Jane MacNeille <                                    >; Greg Norman <
    To:
                     >; Jed Moore                                   >; Kevin Foster <                   >;
                     Scott Peddie                                       >; Maria O'Connor <
                     >; Ross Duncan <                                       >; Marwan Bakrali <                    >; Sultan
                     Alharbi <                      >; Rupert Trefgarne <                       >; Mohammed ALShiha
                     <                      >; Jacobo Solis <                  >; Stephen Cohen <                            >;
    CC:
                     Padraic Riley <                           >; Michael Osborne <                            >; Luke Devlin
                     <                         > ; Mohamed Ahmed <                         >; Todd Graff <
                     >; Anna Silverman <                                         >; Kiri Wolfe <                   >; Gary
                     Davidson <                                        >;
    Attachments: image001.png

    Fine by me

    Get Outlook for iOS

    From: Jane MacNeille <                                     >
    Sent: Tuesday, October 5, 2021 8:37:41 AM
    To: Greg Norman (                                   ) <                               >; Jed Moore
                                    >; Majed Al Sorour <                           >; Kevin Foster <                              >
    Cc: 'Scott Peddie' <                               >; 'Maria O'Connor' <                                      >; 'Ross
    Duncan' <                                  >; Marwan Bakrali <                  >; Sultan Alharbi <
    >; Rupert Trefgame <                     >; Mohammed ALShiha <                      >; Jacobo Solis <
    >; Stephen Cohen <                          >; Padraic Riley <                    >; Michael Osborne
    <                            >; Luke Devlin <                      >; Mohamed Ahmed <                           >; Todd
    Graff <                     >; Anna Silverman <                                   >; Kiri Wolfe
    <                      >; Gary Davidson <                                 >
    Subject: RE: Project Wedge Media Summit - Approval Required

    Hi team,

    Moving this to the top of your inbox.

    Thank you,
    Jane


    From: Jane Mac Neille
    Sent: Monday, October 4, 202110:34 AM
    To: Greg Norman (                                    ) <                                >; Jed Moore
    <                                >; Majed Al Sorour <                           >; Kevin Foster <                             >
    Cc: Scott Peddie <                                 >; Maria O'Connor <                                       >; Ross
    Duncan <                                   >; Marwan Bakrali <                 >; Sultan Alharbi <                                >;
    Rupert Trefgarne <                     >; Mohammed ALShiha <                    >; Jacobo Solis <                        >;
    Stephen Cohen <                            >; Padraic Riley <                    >; Michael Osborne
    <                            >; Luke Devlin <                      >; Mohamed Ahmed <                           >; Todd
    Graff                      >; Anna Silverman <                                    >; Kiri Wolfe <
    >; Gary Davidson <                                    >
    Subject: Project Wedge Media Summit - Approval Required

    Good morning,




HIGHLY CONFIDENTIAL-ATTORNEY EYES ONLY                                                                               LIV000181785
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    Following this weekend's calls with HE and approval to move forward with an Oct. 18 launch date, the comms team is seeking
    approval to move forward w ith t he Media Summit on Wednesday, Oct. 13. Please find summarized details below and kindly
    let us know if we have permission to:

        • Proceed with sending out invit at ions today
        • Proceed with booking hotel + travel accommodations
        • Proceed with coordinat ing out ing at Quaker Ridge

    We will obviously provide a lot more detail in the coming days, but please do let us know if any immediate quest ions arise.
    Thank you.

    Domestic Summit Attendees:
    Michael Bamberger     Golf Magazine/ SI
    Ron Green Jr.         Global Golf Post
    Abraham Madkour       Sport s Business Journal
    Sam Bozoian           Barstool Sports
    Bob Harig             ESPN
    Mark Cannizzaro       New York Post



    Location
        • TBC Quaker Ridge Golf Club - @Kiri Wolfe to assist in coordinating details
        • Hotel: Opus Autograph Collection

    Schedule
    Tuesday, Oct. 12
        • Greg/Jed/Majed arrive to NYC for media training in preparation for summit
        • Out of town media arrive (fly into Westchester County Airport)

    Wednesday, Oct. 13
       • AM: presentation to media at TBC Hot el Function Room OR Qua ker Ridge Function Room
       • Afternoon: Round of golf at QR
       • PM: Dinner @TBC restaurant

    Thursday, Oct. 14
        • International Virtual Media Summit (working to coordinate times due to varying time zones across the globe)
        • Press Release: Greg Norman CEO P54i + APX Tour Series {P54 taking lead on first draft to review this week)

    International Summit Attendees
    Brad      Golf Digest
    Clifton   Australia
    Mike      Worldwide
    Gallemore Golf
              Golf Digest
    Kent Gray Middle East
    Martin    The
    Dempster Scotsman
    Neil
    Tappin    Golf Monthly
    Ryota     Golf Digest
    lmaoka    Japan
    Martin    Journa l du
    Coulomb Golf/~equipe
    Faisal J.
    Abbas/




HIGHLY CONFIDENTIAL-ATTORNEY EYES ONLY                                                                                   LIV000181786
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    Chito
    Manuel     Arab News




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     GREG NORMAN°



    Jane MacNeille
    Vice President, Communications
    c:

    www.shark.com




HIGHLY CONFIDENTIAL-ATTORNEY EYES ONLY                                                   LIV000181 787
